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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

     UNITED STATES OF AMERICA,
     Plaintiff,

                         v.                          Criminal No. 16-440-25 (PAD)

     [25] CHARLIE CLEMENTE-ANDINO,
     Defendant

               SENTENCING MEMORANDUM OF THE UNITED STATES

TO THE HONORABLE COURT:

        COMES NOW, the United States of America (AGovernment@ or AUnited States@), by and

through the undersigned attorneys, and very respectfully states and prays as follows:

I.      Introduction

        The defendant, [25] Charlie Clemente-Andino, along with 39 others, was the subject of

a Six Count Indictment rendered by a District of Puerto Rico Grand Jury on July 12, 2016

        On June 20, 2019, defendant, [25] Charlie Clemente-Andino (ADefendant@), entered a

plea of guilty as to Counts One and Six of the Indictment; Conspiracy to Possess with intent to

distribute Controlled Substances; Title 21, U.S.C. §§ 841(a)(1), 846 and 860 and Possession of

Firearms in Furtherance of Drug Trafficking, Title 18 U.S.C. § 924(c)(1)(A).

        The United States respectfully submits that a sentence of seventy-two (72) months of

imprisonment, followed by a six (6) year term of supervised release, is sufficient but not greater

than necessary to address the relevant sentencing factors set forth in Title 18 U.S.C. '3553(a). This

sentence will: (1) address the seriousness associated with the crime; (2) provide deterrence to

others in committing similar crimes and; (3) promote respect for the law.
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II.      Factual Summary

         Beginning no later than the year 2009 and continuing up to and until the return of the

indictment, in the Municipality of Carolina and other areas nearby, in the District of Puerto Rico,

[25] Charlie Clemente-Andino and other persons, did knowingly and intentionally, combine,

conspire, and agree with each other and with diverse other persons to possess with intent to

distribute controlled substances, to wit: of two-hundred and eighty (280) grams or more of cocaine

base (crack); one (1) kilogram or more of heroin; (5) kilograms or more of a mixture or substance

containing cocaine; one hundred (100) kilograms or more of marijuana.

         The object of the conspiracy was to distribute controlled substances at the Sabana Abajo

Public Housing Project, in the Municipality of Carolina, Puerto Rico; all for significant financial

gain and profit.

         The defendant acknowledged that during the span of the conspiracy he possessed with

intent to distribute less than 50 grams of cocaine.

         Defendant [25] Charlie Clemente-Andino acted as a facilitator for the drug trafficking

organization.

III.     Defendant=s Criminal History and Post Indictment Conduct

         Defendant is a criminal history category of I.

         For Count One the defendant acknowledges he possessed with intent to distribute less than

50 grams of cocaine within one-thousand feet from a protected location. Pursuant to the Plea

Agreement that will be a Total Offense level of 12. With a Criminal History category of I the

applicable guideline range would be 10-16 months of imprisonment. As to Count One, pursuant

to the Plea Agreement, the Government requests 12 months of imprisonment. As to Count Six,

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pursuant to the Plea Agreement, the Government requests 60 months, consecutive to the Sentence

imposed in Count One.

IV. Conclusion

         Based on the foregoing, the United States respectfully submits that a sentence of 72 months

for Counts One and Six, would promote respect for the law, afford adequate deterrence to criminal

conduct, and protect the public from further criminal conduct of the defendant.

         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, this 12th day of November 2019.

                                                  W. STEPHEN MULDROW
                                                  United States Attorney


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                                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to defense
counsel.

                                                  S/Corinne Cordero-Romo
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